 Case 5:23-mj-05282-MAS
       Case 4:23-cr-00218*SEALED*
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                                                                                    United States Courts
                                                                                  Southern District of Texas
 AO 94 (Rev. 06/09) Commitment to Another District
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                                                                                        August 09, 2023l:astern Dis!ricl of Kentucky
                                      UNITED STATES DISTRICT   COURT
                                                         Nathan Ochsner, Clerk of Court                               FILED
                                                                 for the
                                                     Eastern District of Kentucky                                AUG n8 2023
                                                                                                                 Ar LEXINGTON
                  United States of America                         )                                             Robert R Carr
                                v.                                 )                                       CLERK U.S. DISTRICT COURT
                   Hardik Jayantilal Patel                         )       Case No. 5:23-mj-5282-MAS
                                                                   )
                                                                   )          Charging District's
                            Defendant                              )          Case No.4_:_2_3-_cr_-_ _ _ _ _ __

                                             COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the              Southern            District of Texas
(if applicable)   Houston            _ _ _ _ _ division. The defendant may need an interpreter for this language:
Gujaniti

          The defendant:         Gtwill retain an attorney.
                                 □   is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant's arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:             08/08/2023
                                                                                    /     Judge's signaturJ


                                                                            Matthew A. Stinnett, U.S. Magistrate Judge
                                                                                        Printed name and title




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